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                          UNITED STATES BANKRUPTCY COURT
                           FOR THE DISTRICT OF MARYLAND
                                   (Greenbelt Division)

In re:                                    )
                                          )
VERNON OSBORNE WILLIAMS, II,              )                   Case No. 18-16962-WIL
                                          )                   Chapter 7
Debtor.                                   )
__________________________________________)

 CHAPTER 7 TRUSTEE’S APPLICATION TO RETAIN BK GLOBAL REAL ESTATE
         SERVICES AND MARYLAND REO REALTY TO PROCURE
    CONSENTED PUBLIC SALE PURSUANT TO 11 U.S.C. §§327, 328 AND 330

         Merrill Cohen, as Chapter 7 Trustee (the “Trustee”) for the estate of Vernon Osborne

Williams, II (the “Debtor”), by and through the undersigned counsel, files this Application for

entry of an order authorizing retention of BK Global Real Estate Services (“BKRES”) and

Maryland REO Realty (“Listing Agent”) under the terms set forth in the agreement (the “BKRES

Agreement”) attached to BKRES and Listing Agent Affidavits of Disinterestedness filed herewith,

and in support thereof, the Trustee respectfully states as follows:

                                    PRELIMINARY STATEMENT

         Trustee requests approval to retain BKRES and local licensed Listing Agent (individually

and collectively referred to as “Broker or Brokers”), at no cost to the estate, to negotiate with and

persuade the first lienholder on certain real property in which the estate has no equity to (1) allow

Trustee to sell such property at the highest price that the market will bear, (2) waive the resulting

deficiency claim and (3) pay an 11 U.S.C. §506 surcharge to provide a carve out for the benefit of

the estate and pay all other sale expenses, including a 6% brokerage commission that will be

shared equally by BKRES and Listing Agent only upon the closing of a sale that is approved by

this Court.

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       BKRES and its affiliates have proprietary technology and a national team of experienced

loan servicing specialists, asset managers, negotiators, trustee relation managers, real estate

brokers and agents, closing specialists and attorneys with extensive experience in procuring the

consent of mortgage lenders and servicers to sell over-encumbered properties and provide

significant cash recoveries to selling estates with no equity, through the Consented Sale™ process

described herein.

       The proposed agreements are attached and provide that BKRES and Listing Agent will not

be entitled to any compensation from the estate whatsoever under any circumstances. They will

only receive and share a customary brokerage commission that is paid by secured creditor as an 11

U.S.C. § 506 surcharge approved by this Court.

       The Trustee (1) believes that hiring BKRES and Listing Agent to pursue a Consented

Sale™ will likely result in secured creditor paying a carve-out for the benefit of the estate with

proceeds from the public sale of an asset in which the estate has no equity and (2) expects to obtain

secured creditor’s agreement to a Consented Sale™, and bring a separate motion seeking this

Court’s approval of the procedures, terms and conditions by which the over-encumbered property

will be sold, within the coming months.

                                          JURISDICTION

       1.      This Court has jurisdiction to consider this Application pursuant to 28 U.S.C.

§§ 157 and 1334.       This matter is a core proceeding within the meaning of 28 U.S.C.

§ 157(b)(2)(A), (M), (N), and (O).

       2.      Venue is proper before this Court pursuant to 28 U.S.C. §§1408 and 1409.




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                                                  BACKGROUND

         3.       On May 22, 2018, the Debtor commenced this case by filing a voluntary petition

for relief under Chapter 7 of the United States Bankruptcy Code.

         4.       Thereafter, the Trustee was appointed as the Chapter 7 trustee in this case.

         5.       The section 341 meeting of creditors is scheduled to be held on June 26, 2018.

         6.       The Debtor is the sole owner of real property located at 15305 Livingston Rd,

Accokeek, MD 20607 (the “Property”).

         7.       The Trustee is informed and believes that there is little or no equity in the Property.

         8.       The Trustee has determined it to be in the best interest of the Debtor’s estate and all

creditors to negotiate to obtain Secured Creditor’s agreement and consent (“Consent”) to do the

following, with the proviso that the hired professionals, BKRES and Local Agent, shall not

participate in the sale and purchase of any estate property except as hired Brokers:

                  a. sell the Property to whichever third party Trustee determines to have made the

                       best qualified offer during a public sale approved by the Court;

                  b. buy the Property from the Debtor’s estate if (and only if) no such offer is made1;

                  c. release the Senior Mortgage and otherwise waive all of its claims against the

                       estate with respect to the Property (including any deficiency claims resulting

                       from the proposed sale); and

                  d. agree to a 11 U.S.C. § 506 surcharge to pay all of the customary expenses

                       associated with the proposed sale, including the payment of a 6% real estate

                       brokerage commission to BKRES and Listing Agent and reimbursement of


1
  In the event that the Property is not sold to a third party, the Brokers will be paid in accordance with the non-third
party sale terms of the BKRES Agreement and Listing Agreement.
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                    their out-of-pocket expenses, and provide a meaningful carve out for the benefit

                    of allowed unsecured creditors of the Debtor’s estate.

       9.      The Trustee also has determined it to be in the best interest of the Debtor’s estate

and all creditors to request authorization to engage Brokers BKRES and Listing Agent to provide

reasonable and necessary property preservation, maintenance, and upkeep services to the subject

estate Property and to reimburse the Brokers in a maximum amount not to exceed $500.00 for any

approved reasonable, necessary out-of-pocket costs and expenses incurred by Brokers associated

with property preservation, maintenance, and upkeep of the subject Property in connection with a

potential sale, upon the availability of funds from the estate, without the need for further Order.

       10.     Trustee expects BKRES and Listing Agent to obtain Secured Creditor’s full, final

and unconditional Consent and bring a separate motion seeking an order approving the sale of the

Property (the “Motion to Approve Sale”) within several months of the entry of the order sought by

this Application.

       11.     By this Application, the Trustee requests authority pursuant to Sections 327, 328(a)

and 330 of the Bankruptcy Code to (a) retain BKRES and Listing Agent to provide the necessary

professional assistance and representation required by the Trustee to fulfill the Trustee’s duties

pursuant to 11 U.S.C. § 704 in order to procure Secured Creditor’s Consent, (b) engage Brokers

BKRES and Listing Agent to provide reasonable and necessary property preservation,

maintenance, and upkeep services to the subject estate Property to facilitate the sale of the Property

for the benefit of the Secured Creditor(s) and bankruptcy estate, (c) reimburse Brokers in the

maximum amount not to exceed $500.00 for any approved, out-of-pocket costs incurred by

Brokers associated with property preservation, maintenance, and upkeep of the subject Property in


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connection with a potential sale, upon the availability of funds from the estate, without the need for

further Order, and (d) approve Secured Creditor’s payment of the fees described herein and below

directly to BKRES and Listing Agent at closing of the sale of the Property, if and when the

Consent and Motion to Approve Sale are granted.

                                                 APPLICATION

          12.      Section 328(a) of the Bankruptcy Code provides, in relevant part, that a debtor

“with the court’s approval, may employ or authorize the employment of a professional person

under section 327...on any reasonable terms and conditions of employment, including on a

retainer, on an hourly basis, on a fixed percentage or fee basis, or on a contingent fee basis.” 11

U.S.C. § 328(a). Section 330 of the Bankruptcy Code permits the Court to “award to a trustee…

or a professional person employed under section 327…(A) reasonable compensation for actual,

necessary services rendered [by such party]… and (B) reimbursement for actual, necessary

expenses.” 11 U.S.C. § 330(a)(1).

          13.      As further described in the materials attached to their affidavits, BKRES2 and

Listing Agent have extensive experience obtaining the consent and agreement of mortgage lenders

and servicers to the sale of their collateral and resolution of any resulting unsecured claims in order

to produce a recovery for estates from over-encumbered assets in which the estate has no equity.

An expedited sale of the estate Property securing an allowed secured claim in this case pursuant to

Section 363 of the Bankruptcy Code will enhance the bankruptcy relief sought by the Debtor(s),

provide a recovery of value for the bankruptcy estate that will result in a meaningful distribution to

unsecured creditors, and provide direct equitable benefits to the Secured Creditor in the following

ways:
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    BKRES is the broker affiliate of BK Global (http://www.bkginc.com/).
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               a.      in exchange for an expedited free and clear sale and realization of the

               current fair market value of the Property by the Secured Creditor, the Debtor’s

               estate will be released from the Senior Mortgage and any deficiency claims

               resulting from the sale;

               b.      an expedited free and clear sale of the Property will provide a loss

               mitigation option that enables the Secured Creditor and Debtors to avoid the

               substantial expense of foreclosure proceedings and the damaging impact of

               foreclosure on the financial recovery of the bankrupt Debtors and their ability to

               obtain future credit;

               c.      an expedited free and clear sale of the Property will provide a negotiated

               cash payment as a meaningful recovery of value for the bankruptcy estate and the

               unsecured creditors;


               d.      an expedited free and clear sale of the Property will eliminate the need for a

               foreclosure sale and enable the Secured Creditor to limit its expenses to legal costs,

               property preservation costs, insurance, and taxes; and,


               e.      the Debtors’ voluntary surrender of the Property to the administration of the

               Trustee and the Secured Creditor’s consent to the sale of the Property will enable

               the Trustee to use the forces of a free market to establish the true fair market value

               of the Property for the benefit of all interested and affected parties.

       14.     The Trustee believes that the highest and best value for the Property will be

generated through a sale in which the Property is widely marketed to the public and offered at the


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highest price that the market will bear. The Trustee further believes that such a sale is in the best

interest of the Debtor’s estate, but can only be achieved if Secured Creditor’s Consent is first

obtained. That is why the Trustee believes that retaining BKRES and Listing Agent to obtain

Secured Creditor’s Consent is in the best interests of the Debtor’s estate.

         15.      In no event will the estate have any obligation to pay BKRES or Listing Agent for

their services, or to pay for customary title and closing services. The terms of the BKRES

Agreement and Listing Agreement and this Application provide that BKRES and Listing Agent

are only entitled to payment if and when (a) Secured Creditor grants its Consent, (b) the Motion to

Approve Sale is granted and (c) the Property is sold3, in which event BKRES and Listing Agent

will receive and share a 6% real estate brokerage commission and obtain reimbursement of any

out-of-pocket expenses and payment for all other expenses associated with the sale of the Property

from the sale proceeds at closing in accordance with the order approving the sale.

         16.      BKRES and Listing Agent will not be entitled to any fees if Secured Creditor does

not grant its Consent or the Court does not grant the Motion to Approve Sale.

         17.      The Trustee submits that the terms of employment and compensation as set out in

the BKRES Agreement and Listing Agreement are reasonable in light of the extensive experience

of BKRES and Listing Agent and the nature of the services they provide.

         18.      BKRES attested that it is a disinterested person within the meaning of

Section 101(14) of the Bankruptcy Code and Federal Rules of Bankruptcy Procedure 2014 and

2016(a). Attached hereto is an Affidavit of Disinterestedness of BKRES. BKRES also attests,

pursuant to Bankruptcy Rule 2016, that it shall not split or share its fee with any individual or

3 In the event that the Property is not sold to a third party, the Brokers will be paid in accordance with the non-third
party sale terms of the BKRES Agreement and Listing Agreement.

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entity other than Listing Agent, or a buyer’s Agent, if applicable.

       19.     Listing Agent attested that it is a disinterested person within the meaning of

Section 101(14) of the Bankruptcy Code and Federal Rules of Bankruptcy Procedure 2014 and

2016(a). Attached hereto is an Affidavit of Disinterestedness of Listing Agent. Listing Agent

also attests, pursuant to Bankruptcy Rule 2016, that it shall not split or share its fee with any

individual or entity other than BKRES, or a buyer’s Agent, if applicable.

                                           CONCLUSION

       For the foregoing and all other necessary and proper purposes, the Trustee seeks the

Court’s authority to retain BKRES and Listing Agent in this case, and requests that the Court

approve the compensation arrangements set forth in the BKRES Agreement and Listing

Agreement and this Application pursuant to Sections 327, 328(a) and 330 of the Bankruptcy Code.

       Respectfully submitted,

                                     COHEN BALDINGER & GREENFELD, LLC

                                                By: /s/Augustus T. Curtis
                                                     Merrill Cohen
                                                     Augustus T. Curtis
                                                     2600 Tower Oaks Blvd., Suite 103
                                                     Rockville, MD 20852
                                                     (301) 881-8300
                                                     Counsel for Trustee




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                                 CERTIFICATE OF SERVICE


       I HEREBY CERTIFY that I have reviewed the Court’s CM/ECF filing system, and that it
confirms that copies of the foregoing Application will be served via electronic delivery, postage
prepaid, this 25th day of June, 2018, to the following:

       William C. Johnson, Jr.
       1310 L St. NW
       Suite 750
       Washington, DC 20005

        I further certify that the Application has been served via United States Mail, postage
prepaid, this 25th day of June, 2018, to the following and to the parties on the attached mailing
matrix:

       Vernon Osborne Williams, II
       14407 Saint Gregory Way
       Accokeek, MD 20607

       Office of The United States Trustee
       6305 Ivy Lane
       Suite 600
       Greenbelt, MD 20770


                                      / /s/Augustus T. Curtis
                                      Augustus T. Curtis




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